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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE


 ROBERT W. CLOUGH, II, on behalf of
 himself and others similarly situated,

                Plaintiff

        v.                                             CIVIL ACTION NO. 1:20-cv-00345-LM

 PLYMOUTH ROCK ASSURANCE
 CORPORATION and AVENGE DIGITAL,
 LLC,

                Defendants


 AVENGE DIGITAL, LLC,

                Counterclaim-Plaintiff

        v.

 ROBERT W. CLOUGH, II,

                Counterclaim-Defendant.


 THE PARTIES’ STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO
                      FED. R. CIV. P. 41(a)(1)(A)(ii)

       Plaintiff Robert W. Clough, II and Defendants Plymouth Rock Assurance Corporation

and Avenge Digital LLC (the Parties) pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii) and through

counsel, hereby stipulate and agree to the dismissal of this action and all claims that were or

could have been asserted in this lawsuit with prejudice and to waive all rights of appeal, with

each party to bear its own fees and costs. None of the rights of any putative class members,

except Plaintiff, are released or affected by this dismissal. However, this dismissal does dismiss

the above-referenced lawsuit with prejudice.



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Respectfully submitted,


PLYMOUTH ROCK ASSURANCE                    PLAINTIFF,
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                                           Attorneys for Plaintiff and the Putative Class


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                                 CERTIFICATE OF SERVICE

       I, Edward A. Broderick, hereby certify that the foregoing document filed through the

ECF system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants.


                                              /s/ Edward A. Broderick
                                              Edward A. Broderick
Dated: February 9, 2021
